Case 2:12-cv-06383-PKC-SIL Document 257 Filed 10/23/13 Page 1 of 16 PageID #: 4339




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                           X

  SKY MEDICAL SUPPLY INC.,                                       12 Civ.06383 (JFBXETB)
                                            Plaintiff,

                      - against -

  SCS SUPPORT   CLAIMS SERVICES, [NC., et al.,

                                            Defendants.

                                                           X




                MEMORANDUM OF LA\ry OF'DEFENDANTS \ryAYNE
                KERNESS, M.D.AND DAMION A. MARTINS, M.D.IN
                 SUPPORT OF THEIR MOTION TO DISMISS THE
                        FIRST AMENDED COMPLAINT




                                           Rr¡F
                         Rus zuNMosc oUEALTTS GHEK nc.
                           Attorneyþr Defendants Kerness and Martins
                                       East Tower, l5th Floor
                                          1425 RXR Plaza
                                    Uniondale, New York 11556
                                         (sl6) 663-6600
Case 2:12-cv-06383-PKC-SIL Document 257 Filed 10/23/13 Page 2 of 16 PageID #: 4340




                                     TABLE OF CONTENTS


                                                                          PAGE

  TABLE OF AUTHORITIES                                                       ll

  PRELIMINARY STATEMENT                                                       I

  ALLEGATIONS OF THE COMPLAINT AS RELATING TO
  KERNESS AND MARTINS                                                        )

  ARGUMENT                                                                   .3


                I.     THE FIRST AMENDED COMPLAINT DOES NOT ALLEGE A
                       PLAUSIBLE CLAIM AGAINST KERNESS AND MARTINS....       J


                II.    THE AMENDED COMPLAINT DOES NOT CONTAIN
                       ALLEGATIONS AGAINST KERNESS OR MARTINS TO
                       SATISFY THE PLEADING REQUIREMENTS FOR A CLAIM
                       I_TNDER 18 U.S,C. $1962(C)...                         4

                III.   THE FIRST AMENDED COMPLAINT DOES NOT ALLEGE
                       ANY FACT DEMONSTRATING THAT KERNESS OR
                       MARTINS CONSPIRED TO PARTICIPATE IN A RICO
                       ENTERPRTSE rN VTOLATTON OF 18 U.S.C. $1962(D)         7

                IV.    THE FIRST AMENDED COMPLAINT FAILS TO ALLEGE
                       FACTS SUPPORTING ANY STATE TORT CLAIM                 9


                V      THE TORTIOUS INTERFERENCE AND RICO CLAIMS
                       AGAINST KERNESS AND MARTINS ARE TIME BARRED          10


  CONCLUSION                                                               .l l


  5   80743\l




                                              I
Case 2:12-cv-06383-PKC-SIL Document 257 Filed 10/23/13 Page 3 of 16 PageID #: 4341




                                       TABLE OF'AUTHORITIES


  CASES                                                                                               PAGE

  Abrahams v. Young & Rubicam Inc.
  7 9 F .3 d 234 (2d Cir.), cert. den., 5 19 U.S.   8I   6 (1996)                                         5


  American Dental Ass'n v. Cigna Corp
  605 F.3d 1283 (1lth Cir. 2010)                                                                          5


  Anatian v. Coutts Bank (Switzerland) Ltd.
  193 F.3d 85 (2d Cir. 1999) cert. den., 528 U.S. 1188          (2000)................   ,..,......,.......4

  Ashcroft v. Iqbal
  556 U.S. 662,r29 S.Ct. 1937 (2009)                                                                      J


  Atlantic Gypsum Co., Inc. v. Lloyds Int'l Corp
  7s3F. Supp 505 (S.D.N.Y. 1990)

  Bell Atlantic v. Twombly
  sso u.s. s44 (2007)                                                                                     J


  Cement and Concrete lï/orkers District Council í4/elfare Fund,
  Pension Fund, Legal Services Fund and Annuity Fund v. Lollo
  148 F.3d 194 (2d Cir. 1998)..........                                                              9-10

  Chung v. Wang
  79 A,D,3d 693 (2d Dep't 2010),.

  FD Property Holding, Inc. v. U.S. Trffic Corp.
  206F. Supp.2d 362 (E.D.N.Y.2002)                                                                   .6,7

  Federal Treasury Enterprise Sojuzplodoimport v. Spirits International N.V.
  400 Fed. App*. 6Il (2d Cir. 2010), o,lf'd.,726F.3d62 (2dCir.2013)                                       9


  Foster v. Churchill
  87 N.Y,2d 744 (1996)                                                                                    9


  Fromowitz v. I(. Park Associates, Inc.
  106 A.D.3d 950 (2d Dep't 2013)                                                                          9


  GICC Capital Corp. v. Technology Finance Group, Inc.
  67 F.3d463 (2d Cir. 1995), cert. den.,518 U.S. 1017 (1996)....,...........             ....,.,........,.6




                                                           11
Case 2:12-cv-06383-PKC-SIL Document 257 Filed 10/23/13 Page 4 of 16 PageID #: 4342




  Holmes v. Securities Investor Protection Corp.
  s03 u.s, 2s8 (t992)                                                       6


  Holtkamp v. Parklex Associates
  30 Misc.3d 1226(A) (Sup. Ct. Kings Co. 201 I), aff'd,
  94 A.D.3d 819 (2d Dep't.), lv. to app. den.,19 N.Y.3d 951 (2012)

  In re Ciprofloxacin Hydrochloride Antitrust Litigation
  261F. Supp.2d 188 (E.D.N.Y.2003)                                         11


  Int'l Brotherhood of Teamsters v. Carey
  297 F. Supp.2d 706 (S.D.N.Y.2004), aff'd sub nom.,
  Int'l Brotherhood of Teamsters v. Blitz
  2005 WL 348378 (2d Cir. Feb 1 1, 2005)                                    6


  Koch v. Christie's International PLC
  699 F.3d t4t (2dCir.20t2).                                               10


  Lundy v, Catholic Health System of Long Island Inc.
  711 F.3d 106 (2d Cir. 2013).                                             .5


  Nakamura v. Fujii
  253   A.D.2d387,677 N.Y.S.2d 113 (lstDep't 1998)                          9


  O'Malley v. New York City Transit Authority
  896 F.2d 704 (2d Cir, 1990)........                                       5


  Pieper v. Benerin
  LLC,2013 WL 4506164 (E.D.N.Y, Aug. 22,2013)                               7


  Reves v. Ernst & Young
  r13 S.Cr. 1163 (1993)..............,........                              5


  Securities Investors Protection Corp. v. BDO Seidman, L.L.P
  9s N.Y.2d 702 (2001)                                                     10


  Spool v. World Child Int'l Adoption Agency
  s20 F.3d 178 (2d. Cir.2008).                                           .4,7

  Vaughn v. Air Line Pilots Ass'n Int'l
  395 B.R. 520 (E.D.N.Y. 2008), aff'd,604 F.3d 703 (2dCir.2010)             4




                                                   lll
Case 2:12-cv-06383-PKC-SIL Document 257 Filed 10/23/13 Page 5 of 16 PageID #: 4343




  STATUTES

  l8 U,S.C. $1e62(c)                                                   ,4r   5r7

  18   u.s.c.   $1e62(d)                                                     7,8

  Federal Rules of Civil Procedure $9(b)                                      ,4


  Federal Rules of Civil Procedure $12(bX6),....                               3


  Racketeer Infl uenced and Comrpt Or ganizations Act ("RICO")         passim




  580784\l




                                                   lv
Case 2:12-cv-06383-PKC-SIL Document 257 Filed 10/23/13 Page 6 of 16 PageID #: 4344




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                               X

  SKY MEDICAL SUPPLY INC.,                                          12 Civ.06383 (JFBXETB)
                                                Plaintiff,

                           - against -

  SCS SUPPORT CLAIMS SERVICES, INC., et al.,

                                                Defendants.

                                                               X


                    MEMORANDUM OF LAW OF'DEFENDANTS WAYNE
                    KERNESS, M.D.AND DAMION A. MARTINS, M.D.IN
                     SUPPORT OF THEIR MOTION TO DISMISS THE
                            FIRST AMENDED COMPLAINT

                                         Preliminary Statement

         Plaintift Sky Medical Supply Inc. ("Sky Medical"), commenced this action alleging that

  defendants violated the Racketeer Influenced and Corrupt Organizations Act ("RICO") and

  committed various state torts by providing independent medical examinations and peer reviews

  to insurance carriers that were not based on actual physical examinations or a review of the

  patient records, and were created solely for the pu{pose of providing the insurance carriers with a

  basis to deny the claims for services or equipment supplied Sky Medical and other providers.

  However, with regard to defendant V/ayne Kerness, M.D. ("Kerness"), there is not one specific

  reference to him within the body of the First Amended Complaint, and there is only one report

  purportedly authored by him identified in the schedule attached as Exhibit   1   to the First

  Amended Complaint. Similarly, there is only one reference to defendant Damion A. Martins,

  M.D. ("Martins") in the First Amended Complaint regarding an arbitration determination which




                                                    1
Case 2:12-cv-06383-PKC-SIL Document 257 Filed 10/23/13 Page 7 of 16 PageID #: 4345




  rejected his findings with regard to a single peer review, and there are references to five (5)

  reports authored by Martins in Exhibit   1.


         As explained below, there are no allegations that either Kerness or Martins participated in

  any purported RICO enterprise, and there are no allegations concerning Kerness or Martins that

  would satisfy such pleading requirements for   a   RICO claim as RICO damages or a pattern of

  racketeering activity. Also, there no specihc allegations with regard to Kerness and Martins

  involvement in any conspiracy such as their attending meetings, or other acts demonstrating their

  entering into an agreement. Accordingly, in addition to the reasons set forth in the motions being

  served by SCS Support Claims Services, Inc. and the other defendants which demonstrate that

  the First Amended Complaint fails to state a cause of action generally, the First Amended

  Complaint fails to allege any specific conduct on behalf of Kerness or Martins which would

  support the RICO and state tort claims asserted against them. As a result, this action should be

  dismissed as against Kerness and Martins.

                Allegations of the Complaint as Relating to Kerness and Martins

         Kerness is not mentioned in the body of the First Amended Complaint. In fact, when

  they list the defendants against which the applicable counts for the RICO claims are asserted,

  Kerness is not even named. The only reference to Kerness is in Exhibit 1 attached to the

  Complaint with regard to one independent medical examination that he did in 2008. Plaintifls

  Exhibit I does not even set forth whether the report was mailed, but   states the claim was denied

  on August 4,2008.

         As regarding Martins, the only factual allegations are contained in paragraph 94 of the

  Complaint which states:

                 94.In addition to the above, various finders of fact have also noted
                 another aspect of the reports that supports Plaintiffls contentions.



                                                  -L-
                                                     a
Case 2:12-cv-06383-PKC-SIL Document 257 Filed 10/23/13 Page 8 of 16 PageID #: 4346




                   Namely, that the so-called analysis utilized by specific Doctor
                   Defendants to reach the desired result of finding a lack of medical
                   necessity for the services in dispute never varies in any meaningful
                   way, regardless of the merits of the claims and medical conditions
                   of the injured parties whose records are allegedly reviewed. For
                   instance:

                                             ,1.     rlc       {<




                       b.  With respect to Doctor Defendant D. MARTINS, in a
                   no-fault action wherein the health provider's bill was denied based
                   on peer review reports issued by the aforementioned Defendants,
                   the presiding Arbitrator issued a decision stating the following:

                       "In my opinion, Dr. Martins' peer review was structured to a
                       pre-determined result. Dr. Martins dismissed the findings of
                       the cervical MRI and his dismissal has not been corroborated
                       by presentation of the cervical MRI report referred to in his
                       review Dr. Martins' did not engage in a precise factual analysis
                       of the relevant medical facts concerning this particular injured
                       person. Instead his opinion is based on a series ofgeneral
                       statements concerning the alleged utility (or lack thereof) of the
                       durable medical equipment."

           And, while Exhibit 1 references f,rve (5) reports authored by Martins, plaintiff also

  acknowledged that they were mailed by GEICO, and the last one was sent on April 18, 2008.

                                               ARGUMENT

                                                   POINT   I
                  THE FIRST AMENDED COMPLAINT DOES NOT ALLEGE A
                   PLAUSIBLE CLAIM AGAINST KERNESS AND MARTINS

           In Bell Atlantic v. Twombly, 550 U.S. 544 (2007) andAshcroft v. Iqbal,556U.S.662,

  129 S.Ct. 1937 (2009), the Supreme Court instructed that a complaint should be dismissed upon

  a   Rule l2(bX6) motion if it contains only conclusory allegations and does not set forth factual

  assertions demonstrating that a plausible claim exists. Here, the First Amended Complaint,

  which names a multitude of defendants, contains no allegations whatsoever against Kerness, and

  only one subparagraph mentions Martins. As explained below, there are simply no specific



                                                    -J-
Case 2:12-cv-06383-PKC-SIL Document 257 Filed 10/23/13 Page 9 of 16 PageID #: 4347




  factual allegations that either of these defendants engaged in, or conspired to engage in,

  racketeering activity, or committed any state law tort. The conclusory allegations made by

  plaintiff regarding defendants, generally, are simply not enough to state a plausible RICO claim

  so as to drag these two individuals into this action and subject them to the stigma of being part     of

  a RICO   action. Accordingly, at minimum the First Amended Complaint should be dismissed             as


  against Kerness and Martins.

                                                POINT    II
                     THE AMENDED COMPLAINT DOES NOT CONTAIN
                    ALLEGATIONS AGAINST KERNESS OR MARTINS TO
                     SATISFY THE PLEADING REQUIREMENTS FOR A
                            cLArM UNDER 18 U.S.C. S1962(C)

           In order to state a claim against either Kerness or Martins under 18 U.S.C. $1962(c),

  plaintiffs must allege that Kerness and Martins engaged in (1) conduct (2) of an enterprise (3)

  through a pattern (4) of racketeering activity. Vaughnv. Air Line Pilots Ass'n Int'|,3958.R.

  520, 544 (E.D,N.Y. 2008), a.ff'd,,604 F.3d 703 (2d Cir. 2010). In addition, plaintiff must allege

  that the violation of subsection 1962(c) caused injury to plaintiffs' business or property, and that

  the injury was caused by the RICO violation. Spool v.       llorld Child Int'l Adoption Agency,520

  F.3d 178, 183 (2d Cir, 2008). The First Amended Complaint does not come close to alleging a

  claim under 18 U.S.C. $1962(c) against either Kerness or Martins.

           The First Amended Complaint does not sufficiently allege that Kerness or Martins

  engaged in the predicate act of mail   fraud. To state a claim for mail or wire fraud, a plaintiff

  must allege the elements with the particularity required by Fed.R.Civ.P.9(b). Anatian v. Coutts

  Bank (Switzerland) Ltd,, 193 F.3d 85, 88 (2dCir.1999) cert. den., 528 U.S. 1188 (2000);

  Atlantic Gypsum Co., Inc. v. Lloyds Int'l Corp.,753 F. Supp 505, 511 (S.D.N.Y. 1990). The

  complaint must set forth the precise misrepresentation; the time, place and person responsible;



                                                   -4-
Case 2:12-cv-06383-PKC-SIL Document 257 Filed 10/23/13 Page 10 of 16 PageID #: 4348




  how the plaintiff was misled, and what defendant gained. American Dental Ass'n v. Cigna

  Corp., 605 F,3d 1283,I2gI111th Cir. 2010). In addition, a showing of actual intent or reckless

  indifference to the truth is required. O'Malley v. New York City Transit Authority,896F.2d704,

  706 (2d Cir. 1990).

          Here, with regard to Kerness, there is not even an allegation that the one report

  referenced in Exhibit 1 that was purportedly authored by him was ever mailed. V/ith regard to

  Martins, there are no allegations he mailed any of the reports he purportedly authored, nor are

  there any allegations that he knew these reports were to be mailed. Also, there is no allegation

  that any report misled plaintiff, and the reports were not prepared on plaintiffls behalf. See e.g.

  Abrahams v. Young & Rubicam Inc.,79 F.3d234,239 (2dCir.), cert. den.,519 U.S. 816 (1996).

  Also, there is nothing alleged as to what Kerness and Martins gained for preparing purportedly

  false reports.

           Clearly, as to Kerness and Martins, a mail fraud predicate act has not been specifically

  alleged as required. See also Lundy v. Catholic Health System of Long Island (nc.,711 F.3d 106

  (2d Cir.2013). And, since no other predicate act is referenced in the First Amended Complaint

  as regarding Kerness and     Martins, a claim under 18 U.S.C. $1962(c) cannot be maintained

  against these individuals.

          Further, the First Amended Complaint does not assert how Kerness or Martins

  participated in a RICO enterprise. Kerness and Martins only provided a service, and there are no

  allegations that they had any say over any alleged enterprise operation, or control over what the

  alleged enterprise did. See Reves v. Ernst   & Young,113 S.Ct. 1163,ll70 (1993) (in order to

  participate in a RICO enterprise the defendant must play "some part in directing the enterprise's

  affairs").




                                                    5
Case 2:12-cv-06383-PKC-SIL Document 257 Filed 10/23/13 Page 11 of 16 PageID #: 4349




           Similarly, there are no allegations of any injury caused by Kerness' or Martins' activities.

  Although there are allegations that claims were denied after the reports prepared by Kerness and

  Martins, there are no allegations whether there were resulting arbitrations and what were the

  results of those arbitrations. In fact, the only allegation in the First Amended Complaint

  regarding Martins indicates that at an arbitration his report was rejected. See e.g. Holmes       v.


  Securities Investor Protection Corp., 503 U.S. 258 (1992) (to state a claim under any RICO

  subsection, plaintiff must allege injuries proximately caused by defendant's alleged racketeering

  activities).

           Also, the First Amended Complaint is devoid of any allegation that Kemess and Martins

  engaged in a "pattern" of racketeering     activity. In order to show a pattern of racketeering

  activity plaintiff must allege that Kerness and Martins each engaged in two predicate acts within

  ten years. In addition, plaintiff must allege that there is "continuity" in the racketeering activity

  engaged by Kerness and Martins, either "open ended" (past criminal conduct coupled with a

  threat of future criminal conduct) or "close ended" þast criminal conduct extending over a

   substantial period of time). See e.g. GICC Capital Corp. v. Technolog,, Finance Group, Inc.,67

  F.3d463,465 (2d Cir. 1995), cert. den.,518 U.S.        l0l7   (1996);   Int'l Brotherhood of Teamsters      v.


   Carey,297 F. Supp,2d 706 (S.D.N ,Y.2004), aff'd sub nom., Int'l Brotherhood of Teamsters              v.


  Blitz,2005 wL 348378 (2d Cir. Feb 11,2005).

           With regard to Kerness, only one report purportedly authored by Kerness is identified.

   Thus, that Kerness engaged in a "pattern" of activity has clearly not been alleged. See FD

  Property Holding, Inc. v. U.S.     Trffic Corp,,206F.    Supp.2d 362,369 (E,D.N.Y.2002) (to allege

   a pattern at least   two predicate acts must be alleged). As regarding Martins, only a handful of

   reports allegedly authored by Martins are set forth, but they were all done in less than one year,




                                                     -6-
Case 2:12-cv-06383-PKC-SIL Document 257 Filed 10/23/13 Page 12 of 16 PageID #: 4350




  and there are no allegations that Martins is continuing to provide peer reviews or IMEs for the

  other defendants. Accordingly, for Martins, the continuity requirement necessary to satisfy the

  "pattern" element of a RICO claim is not present. Spool v. World Child Int'l Adoption Agency,

  supra,520 F.3d at I84 (2d Cir. 2008) (acts occurring for less than two years will rarely meet the

  close-end continuity requirement).

             Finally,   as   to the claims against Kerness and Martins under subsection (c), they cannot be

  supported by allegations regarding the acts of other defendants. See Pieper v. Benerin, LLC,

  2013 V/L 4506164*6 (E.D.N.Y. Aug.22,2013) (A $1962[c] claim should be considered

  separately for each defendant). Only a claim of conspiracy under subsection (d) would possibly

  allow the acts of others to be attributed to Kerness and Martins. However, as set forth in Point

  IV below, a claim that Kerness and Martins conspired with the other defendants is not adequately

  set forth in the First Amended Complaint.

                                                        POINT        III
                  THE FIRST AMENDED COMPLAINT DOES NOT ALLEGE ANY
                    FACT DEMONSTRATING THAT KERNESS OR MARTINS
                   CONSPIRED TO PARTICIPATE IN A RICO ENTERPRISE IN
                                       vroLATroN oF           18 U.S.C. Sr962(D)

             To state a cause of action under 18 U.S.C. $1962(d) plaintiff must allege that Kerness and

  Martins conspired to violate $1962(c), As the Court, in FD Property Holding, Inc. v. U.S.

   Tr   ffi c C orp., 206 F . Supp.2d 3 62, 37   3   -374 (E.D.N.Y . 2002) noted:

                     Section 1962(d) makes it unlawful "to conspire to violate any of
                     the provisions of subsection (a), (b), or (c) of this section." 28
                     U.S.C. $1962(d). A "RICO conspiracy requires evidence that [a
                     defendant] participated in the enterprise through a pattern of
                     racketeering activity, or agreed to do so." United States v. Tellier,
                     83 F.3d 578, 581 (2d Cir. 1996). Because the RICO conspiracy
                     claim is dependent upon the Section 1962(c) RICO claim,
                     dismissal of that claim mandates the dismissal of the RICO
                     conspiracy claim. See Purgess v. Sharuock 806 F. Supp. 1102,



                                                            -7   -
Case 2:12-cv-06383-PKC-SIL Document 257 Filed 10/23/13 Page 13 of 16 PageID #: 4351




                 1110   n.9 (S.D.N.Y.1992) (dismissal of the underlying RICO
                 claim for failure to allege a pattern of racketeering activity
                 mandates dismissal of the RICO conspiracy claim); Ferberware,
                 Inc. v. Groben,764F. Supp.296,307 (S.D.N.Y. 1991) (dismissal
                 of the underlying RICO claim requires dismissal of the RICO
                 conspiracy claim).

                 Moreover, the Court notes that(Á RICO conspiracy allegation
                 should be more than a conclusory add-on at the end of a
                 complaint. It should state with specificity what the agreement
                 was, who entered into the agreement, when the agreement
                 commenced, and what actions were taken in furtherance of it."
                  1 Mathews et.al., supra, $9.07; see Com-Tech Assocs. v. Computer
                 Assocs. Int'1,753 F. Supp. 1078,1092 (E.D.N.Y. 1990) ("Bare or
                 conclusory allegations of participation in a conspiracy under
                  1962(d) will not avail on a motion to dismiss, and the plaintiff
                 must plead allegations that each defendant knowingly agreed to
                 participate in the conspiracy, particularly when the predicate acts
                 alleged are fraud."); Grunwald v. Bornfreund,66S F. Supp. 128,
                  133 (E.D.N.Y. 1987) ("bare allegations of conspiracy .., are
                 insufficient to support a civil RICO claim"). Plaintiffs' conspiracy
                 claim states: "Each of these defendants agreed to commit each of
                 the two or more predicate acts in which they were directly
                 involved, as set forth in detail above." (Am.Compl. f[84.).
                 Plaintiffs' allegation of an agreement without more is inadequate
                 to state a claim for RICO conspiracy.

                 As aptly stated in Mathon: r'[A]lleged RICO violations must be
                 reviewed with appreciation of the extreme sanctions it
                 provides, so that actions traditionally brought in state courts
                 do not gain access to treble damages and attorneys fees in
                 federal court simply because they are cast in terms of RICO
                 violations." Mathon,875 F. Supp. at 1001. Simply put, this case
                 is a breach of contract case, not a RICO case, and plaintiffs'
                 attempt to cast it as such must be rejected. (emphasis supplied)

         The First Amended Complaint is absolutely silent as to any specific facts that would

  demonstrate that either Kerness or Martins entered into a conspiracy with the other defendants.

  There is not a single allegation that they attended any meetings, entered into any agreement, or

  interacted with the other defendants. Accordingly, the First Amended Complaint fails to state a

  claim against Kerness and Martins under l8 U.S.C. $1962(d)




                                                  -8-
Case 2:12-cv-06383-PKC-SIL Document 257 Filed 10/23/13 Page 14 of 16 PageID #: 4352




                                               POINT IV

                  THE FIRST AMENDED COMPLAINT FAILS TO ALLEGE
                     FACTS SUPPORTING ANY STATE TORT CLAIM

         In order to allege a cause of action for tortious interference, plaintiff must allege the (1)

  existence of a valid contract between plaintiff and a third party , (2) defendant's knowledge        of

  that contract, (3) the defendant's intentional procurement of the third party's breach of that

  contract, and (4) damages. Foster v. Churchill, 87 N.Y.2d744,749-500 (1996). None of these

  elements are alleged against either Kerness or Martins in the First Amended Complaint. For

  example, there are no allegations that either of these individuals knew of any contracts that Sky

  Medical had with third parties, nor that Kerness and Martins intentionally sought to cause a

  breach of any agreement. Accordingly, the tortious interference claim should be dismissed.

         For a claim of unjust enrichment a plaintiff must allege that the plaintiff conferred a

  benefit upon the defendants, and that defendants will obtain such benefit without adequately

  compensatingplaintiff. Nakamurav. Fujii,253 A.D.2d387,677 N.Y.S.2d 113 (lstDep't 1998).

  Here, there are no allegations that plaintiffs provided a benefit to Kerness and Martins, so no

  claim of unjust enrichment has been stated against these defendants,

         To allege state law fraud, the complaint must contain specific allegations of a material

  misrepresentation of existing fact, made with knowledge of falsity, intent to induce reliance

  thereon, justifiable reliance upon misrepresentations and damages. Fromowitz v.       ítr/.   Park

  Associates, lnc.,706 A.D.3d 950 (2d Dep't 2013). Further, the misrepresentation has to be made

  to the party claiming it was defrauded. Federal Treasury Enterprise Sojuzplodoimport v. Spirits

  InternationalN.V.,400Fed.Appx.6Il,613(2dCir.2010),aff'd,,726F.3d62(2dCir.2013)

  (New York law does "not permit a fraud action based on misrepresentations to a third party");

  see also Cement and Concrete    Ilorkers District Council Ilelfore Fund, Pension Fund, Legal



                                                   -9-
Case 2:12-cv-06383-PKC-SIL Document 257 Filed 10/23/13 Page 15 of 16 PageID #: 4353




  Services Fund and Annuity Fund v. Lollo, 148 F.3d I94, 196 (2d Cir. 1998). And, in any case,

  there are no specific allegations that anyone relied upon the reports of Kerness or Martins

  (Securities Investors Protection Corp. v. BDO Seidman, L.L.P,, 95 N.Y.2d 702l200Il), or there

  was any ultimate damages suffered by Sky Medical. Since, as set forth above, the elements of a

  fraud claim such as intent, justifiable reliance and damages are not plead with regard to Kerness

  and Martins the state court fraud claim should be dismissed as against these individuals.

           Finally, in order to assert a cause of action for aiding and abetting fraud   a   complaint must

  allege the existence of an underlying fraud, knowledge of the fraud, and substantial assistance by

  the aider and abettor in achieving of the fraud. Holtkamp v, Parklex Associates, 30 Misc.3d

   1226(A) (Sup. Ct. Kings Co.201I), aff'd,94 A,D.3d 819 (2d Dep't,), lv. to app, den.,19 N.Y.3d

   951 (2012). Here, no underlying fraud has been properly pled, nor are there any allegations that

  Kerness and Martins knew about any fraud or assisted the other defendants in perpetrating a

  fraud.

                                                POINT V

                         THE TORTIOUS INTERFERENCE AND RICO
                       CLAIMS AGAINST KERNESS AND MARTINS ARE
                                    TIME BARRED

           The last report that Kerness allegedly prepared had to be prior to August 4, 2008. The

  last report that Martins prepared was mailed on April 18, 2008. Accordingly, since this action

  was commenced on December 23,2012, the RICO claims against Kerness and Martins are

  barred by the applicable four year statute of limitations, Koch v. Christie's International PLC,

  699 F.3d   l4l,l48   (2d Cir.2012). Similarly, the tortious interference state law claim is baned by

  the applicable three year limitation period. Chungv. Wang,79 A.D.3d 693 (2d Dep't 2010).

  Accordingly, the RICO and tortious interference claims asserted against Kerness and Martins




                                                   -10-
Case 2:12-cv-06383-PKC-SIL Document 257 Filed 10/23/13 Page 16 of 16 PageID #: 4354




   should be dismissed as untimely. See In re Ciprofloxacin Hydrochloride Antitrust Litigation,

  261 F, Supp.2d 188 (E.D.N.Y. 2003) ("[a] complaint alleging relief that is barred by an

  affrrmative defense, like the statute of limitations, can be dismissed for failure to state a claim

  upon which relief can be granted"),

                                                    Conclusion

                In addition to the reasons set forth in the submissions of the other defendants with regard

  to sufficiency of the First Amended Complaint, this action should be dismissed as against

  Kerness and Martins for the reasons set forth above.


  Dated: Uniondale, New York
         October 22,2013
                                                                  RUSKIN MOSCOU FALTISCHEK, P.C


                                                         By:           ?
                                                                  E.
                                                                  Attorney for Defendants Kerness & Martins
                                                                  East Tower, 15th Floor
                                                                  1425 RXR Plaza
                                                                  Uniondale, New York 11556
                                                                  (s16) 663-6600

  5   80334\r




                                                       - 1l   -
